                Case 3:21-md-02981-JD Document 754-1 Filed 11/06/23 Page 1 of 2
                                     UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF CALIFORNIA

Cases: 3:20-cv-05671-JD Epic Games, Inc. v. Google LLC et al
       3:21-md-02981-JD In re Google Play Store Antitrust Litigation

                                          EXHIBIT and WITNESS LIST

 JUDGE:                                    PLAINTIFF’S ATTORNEY:               DEFENSE ATTORNEY:
 Hon. James Donato                         Lauren Moskowitz,                   Lauren Bell, Jonathan Kravis,
                                           Yonatan Even, Gary Bornstein,       Michelle Chiu, Brian Rocca,
                                           Brent Byars                         Kuru Olasa, Kyle Mach,
                                                                               Justin Raphael, Jonathan Wiktor,
                                                                               Glenn Pomerantz
 JURY TRIAL DATE:                          REPORTER(S):                        CLERK:
 11/6/2023                                 Kelly Shainline                     Lisa R. Clark

 PLF    DEF TIME
 NO.    NO. OFFERED            ID REC DESCRIPTION                                                              BY
                                      In camera hearing with lead counsel re juror issue; out of the
                                      presence of the jury. Juror excused.

                                            Google’s motion for a protective order, Dkt. No. 736, is
                9:05 am                     granted in principle. Individuals’ email addresses and
                                            telephone numbers will be redacted from trial exhibits unless
                                            the email address or telephone number is itself an item of
                                            evidence. The parties will work together to implement this
                                            ruling.
                9:17 am                     Court in recess.
                                            Court in session; all parties present out of the presence of the
                9:26 am
                                            jury.
                9:29 am                     Court in session; all parties and jury present.
                                            Court preliminarily instructs the jury.
                9:57 am                     Plaintiff’s opening statement.
                10:44 am                    Stretch break
                10:46 am                    Defendant’s opening statement.
                11:31 am                    Court in recess.
                11:51 am                    Court in session; all parties and jury present.
                                            Plaintiff calls Steven Allison -- direct examination
                                            Email from P. Meegan to T. Sweeney et al re Fwd:
 5519                          X    X       Congratulations on Fortnite & Epic Games Launcher                  LRC
                                            (2018.03.24)
                12:30 pm                    Court in recess.
                1:11 pm                     Continued direct examination of Steven Allison
                1:18 pm                     Cross-examination of Steven Allison
                                            Witness shown depo testimony
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PLF    DEF TIME
NO.    NO. OFFERED       ID REC DESCRIPTION                                                           BY
       9001              X X    8/11/2020 chats between T. Randall and S. Allison                     LRC
              2:06 pm               Re-direct of Steven Allison
              2:13 pm               Court in recess.
                                    Court in session; all parties and jury present. Plaintiff calls
              2:33 pm
                                    Ben Simon -- direct examination.
                                    Witness shown demonstrative.
8028                     X   X      Screenshot titled "Only 14 days left on your free trial"          LRC
                                    Webpage titled "Developer Program Policy" (effective
8022                     X   X                                                                        LRC
                                    August 31, 2023)
              2:58 pm               Cross-examination of Ben Simon
                                    Document dated 9/28/2020 titled "Listening to Developer
       5462              X
                                    Feedback to Improve Google Play"
                                    Undated document titled "Understanding Google Play's
       6376              X
                                    Payments policy"
              3:11 pm               Jury in recess.
              3:16 pm               Court in recess.
                                    Plaintiff has 2322 minutes left.
                                    Defendant has 2339 minutes left




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